  Case 1:03-cr-00033-RJA-HBS   Document 550   Filed 04/03/07   Page 1 of 3




IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA


     -v-                                          03-CR-0033-A

DANIEL RIVERA,
                  Defendant




                      FINAL ORDER OF FORFEITURE


     WHEREAS, on February 6, 2007, this Court entered a Preliminary

Order of Forfeiture pursuant to the provisions of Title 18, United

States Code, Sections 924(d) and 3665 and Title 21, United States

Code, Section 853, based upon the defendant’s plea of guilty and

conviction in the above case, forfeiting one .38 caliber Derringer

pistol bearing serial number L41841, ten rounds of .38 caliber

ammunition, $20,252 United States currency and $2,450 United States

currency; it is now



     AND WHEREAS, on February 15, February 22, and March 1, 2007,

the United States published in a newspaper of general circulation

notice of this forfeiture and of the intent of the United States to

dispose of the property in accordance with the law and further

notifying all third parties of their right to petition the Court

within thirty (30) days for a hearing to adjudicate the validity of

their alleged legal interest in the property;
  Case 1:03-cr-00033-RJA-HBS      Document 550    Filed 04/03/07    Page 2 of 3



     AND WHEREAS, since final publication date for this action was

March 1, 2007, and since that time, no persons have filed a

petition   with   the    Court   seeking    a   hearing   to   adjudicate      the

validity of their interests in the property;



     NOW, THEREFORE, it is hereby, ORDERED, ADJUDGED and DECREED,

that all right, title and interest in the following property is

hereby condemned and forfeited to the United States of America and

shall be disposed of according to law:


     a.    One .38 caliber Derringer pistol, bearing serial number

           L41841 pursuant to Title 18, United States Code, §§

           924(d) and 3665;

     b.    Ten (10) rounds of .38 caliber ammunition pursuant to

           Title 18, United States Code, §§ 924(d) and 3665;

     c.    $20,252      United   States    currency   seized       by   the   Drug

           Enforcement on February 13, 2003 pursuant to Title 21,

           United States Code, § 853; and

     d.    $2,450    United      States    currency   seized       by   the   Drug

           Enforcement Administration on February 13, 2003 pursuant

           to Title 21, United States Code, § 853.
   Case 1:03-cr-00033-RJA-HBS   Document 550   Filed 04/03/07   Page 3 of 3



     ORDERED, that the Court shall retain jurisdiction to enforce

this Order, and to amend it as necessary, pursuant to Fed. R. Crim.

P. 32.2(e).




     SO ORDERED.

                                  s/ Richard J. Arcara
                                  HONORABLE RICHARD J. ARCARA
                                  CHIEF JUDGE
                                  UNITED STATES DISTRICT COURT

DATED: April 3, 2007
